                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF TENNESSEE
                             AT GREENEVILLE



 UNITED STATES OF AMERICA                                 )
                                                          )      No. 2:09-CR-13
 V.                                                       )
                                                          )
 JOSH AARON CARR                                          )
 SHANNON NICHOLE WIDENER                                  )


                                 PRETRIAL ORDER

        In this action, a pretrial conference pursuant to Rule 12.1, Federal Rules of

 Criminal Procedure, and a motion hearing were scheduled for March 31, 2009. No

 motions having been filed, by agreement the pretrial conference and motion hearing

 were CANCELED. However, this order is entered as a guide to counsel with regard

 to the trial and/or sentencing procedures.

        1. Trial procedures to be followed in this case are as follows:

               (a) The Court will conduct a preliminary voir dire examination of the

 jury, and then counsel will be permitted to conduct voir dire. The Court reserves the

 right to interrupt counsel and conduct voir dire on its own if counsel asks improper

 questions, or if the proceedings are unnecessarily prolonged.

               (b) Under Rule 24(b), Federal Rules of Criminal Procedure, the

 defendant is entitled to ten (10) peremptory challenges and the Government is entitled

 to six (6).



Case 2:09-cr-00013-JRG Document 15 Filed 03/23/09 Page 1 of 4 PageID #: 34
               (c) Legal issues that counsel have foreseen are: none.

               (d) Evidentiary problems that counsel have foreseen are: none.

               (e) If counsel have any special requests for instructions to the jury, the

 same should be filed as directed by the Court in its prior order.

               (f) The defendant's counsel will be permitted to make an opening

 statement to the jury prior to the commencement of the Government's proof.

               (g) No motions may be filed in this cause of action by either side

 without the prior leave of the Court to do so, the motion cutoff date having passed.

               (h) Counsel should meet in advance of trial and carefully review trial

 exhibits with a view toward stipulating the admissibility of as many exhibits as

 possible.

               (i) The Court will conduct a charge conference. On the morning of

 trial, the Court will furnish counsel with a draft of the proposed charge. Then, a

 charge conference will be conducted by the Court at the conclusion of all of the proof

 and before the arguments. Any objections, requests, etc., relative to the charge should

 be presented at this time. Any request for an additional charge or a different charge

 should be in writing, if possible. Of course, these rules do not in any way modify the

 requirement that special requests to instruct be filed prior to trial as previously

 instructed by the Court.

               (j) If there is a conviction in this matter, a pre-sentence report will be


                                           2



Case 2:09-cr-00013-JRG Document 15 Filed 03/23/09 Page 2 of 4 PageID #: 35
 prepared. All parties shall proceed in accordance with Local Rule 83.9. Objections

 to a presentence report shall NOT be filed with the Clerk. Ten (10) days after an

 objection is filed by the government or by a defendant, the objecting party must

 provide a copy of same to the United States Probation Office and opposing party. If

 an evidentiary hearing will be necessary to resolve any objection or any response

 thereto, this must be indicated in the objection or the response. A statement of no

 objections to the presentence report must be before the Court no later than five (5)

 working days prior to the sentencing date.

        2. The digital evidence presentation system located in the courtroom both

 facilitates and expedites hearings and trials; the attorneys are encouraged to

 familiarize themselves with this courtroom technology and to make full use of it.

 Counsel who intend to use this equipment are requested to notify the Courtroom

 Deputy, Mrs. Kathy Hopson (423-639-3105), at least two days in advance of the

 hearing or trial so that the equipment is ready for use. The courtroom deputy will be

 available following the final pretrial conference to assist counsel with the use of the

 equipment.    Counsel also may contact Mrs. Hopson to schedule a session to

 familiarize themselves with the courtroom technology equipment.

        3. This action is hereby assigned for trial with a jury before the Honorable J.

 Ronnie Greer to commence at 9:00 a.m. on April 29, 2009. The estimated length of

 trial is two days.


                                           3



Case 2:09-cr-00013-JRG Document 15 Filed 03/23/09 Page 3 of 4 PageID #: 36
       If counsel have any objections to this Pretrial Order, such objections shall be

 taken up pursuant to 28 U.S.C. § 636(b)(1)(A).

              SO ORDERED:

                                              s/ Dennis H. Inman
                                          United States Magistrate Judge




                                          4



Case 2:09-cr-00013-JRG Document 15 Filed 03/23/09 Page 4 of 4 PageID #: 37
